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                Exhibit C
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From: Josh Levy <jal@levyfirestone.com>
Subject: Re: Fridman et al v. Bean LLC et al
Date: April 29, 2021 at 7:27:42 PM EDT
To: Tom Clare <tom@clarelocke.com>
Cc: Andy Phillips <andy@clarelocke.com>, Joe Oliveri <joe@clarelocke.com>,
Libby Locke <libby@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp <eas@levyfirestone.com>

Tom:


There is no Scheduling Order in this case at the moment, and the
parties are in disagreement over whether fact discovery should be
stayed, and, if not, when fact discovery should end. The parties’
briefs are, as you know, pending. We have repeatedly explained
to you that the parties cannot proceed with depositions while fact
discovery has lapsed, and the Court has not entered a new
Scheduling Order. See Fed. R. Civ. P. 16(b)(4); Olgyay v. Soc’y
for Env’t Graphic Design, Inc., 169 F.R.D. 219, 220 (D.D.C. 1996)
(“Counsels’ unilateral decision to modify the Scheduling Order
without the Court’s approval and without good cause is a clear
violation of the Federal and Local Rules.”).

Given that the timing of fact discovery is unknown at this time, we
do not see the point of scheduling depositions that may well need
to be rescheduled based on the new Scheduling Order.

Are you asking for dates contingent on the Court having entered a
Scheduling Order that allows for fact discovery as of the proposed
dates?


Please advise. Thanks.


Josh


Joshua A. Levy
Partner
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From: Tom Clare <tom@clarelocke.com>
Sent: Wednesday, April 28, 2021 11:57 AM
To: Josh Levy <jal@levyfirestone.com>
Cc: Andy Phillips <andy@clarelocke.com>; Joe Oliveri
<joe@clarelocke.com>; Libby Locke <libby@clarelocke.com>;
Rachel Clattenburg <rmc@levyfirestone.com>; Andrew Sharp
<eas@levyfirestone.com>
Subject: Re: Fridman et al v. Bean LLC et al

Josh,

I write to address a few issues.
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1. Scheduling German Khan’s Deposition

In various previous correspondence you have indicated that you
want to go forward with German Khan’s deposition. Because
COVID restrictions in the UK are starting to ease, we are now in a
position to try to move forward with re-scheduling Mr. Khan’s
deposition. Please let us know dates in May on which you would
be available to depose Mr. Khan and we will work to clear one of
those dates with him and revert back.

2. Scheduling Depositions of Mr. Berkowitz and Mr. Felch

We have asked you numerous times to provide dates on which Mr.
Berkowitz and Mr. Felch can be available to be deposed, but you
have repeatedly refused to do so. Because we want to be as
accommodating as possible to Messrs. Berkowitz and Felch and
minimize inconvenience to them, we ask one more time: Please
provide us with dates in May and June on which Messrs.
Berkowitz and Felch are available to be deposed. If you are unable
or unwilling to provide dates by Noon this Friday (April 30), we
will have no choice by the notice to their depositions on dates of
our choosing.

3. Third Party Depositions in the United Kingdom

As you know, on March 30, Judge Leon granted Plaintiffs’ Motion
for Issuance of a Letter of Request for International Judicial
Assistance to obtain oral testimony and/or documentary evidence
from five witnesses in the United Kingdom: (1) Christopher Steele
(documents and testimony), (2) Edward Baumgartner (documents
and testimony), (3) Sir Andrew Wood (documents and testimony),
(4) Christopher Burrows (testimony only), and (5) Orbis Business
Intelligence Ltd. (documents only) (collectively, the “UK
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Witnesses”). In accordance with Judge Leon’s Order, Plaintiffs
filed (on April 2) an updated Letter of Request, which is currently
awaiting Judge Leon’s signature and issuance. Upon Judge Leon’s
issuance of the Letter of Request, Plaintiffs intend to file process in
the United Kingdom to obtain the UK courts’ assistance in
obtaining discovery from the UK Witnesses.

Although we cannot predict the exact timeframe in which the UK
courts will act, we anticipate that the depositions of the UK
Witnesses will proceed in the June-September timeframe. Thus, to
facilitate the depositions of the UK Witnesses, please let us know
if there are any dates in June, July, August, or September that
you will be unavailable for those depositions. We appreciate your
cooperation and will of course do our best to schedule around dates
on which you have unmovable conflicts.

Finally, we would appreciate a response to the questions raised in
my letter about the informal reach out to Alexander van der Zwaan


Best,
Tom



Thomas A. Clare, P.C. | Partner
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